
In re Ford, Alonzo W.;—Plaintiff; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson, 24th Judicial District Court Div. J, No. 96-7172; to the Court of Appeal, Fifth Circuit, No. 02-KH-1237.
Denied. Untimely, not cognizable on collateral review, and repetitive. La.C.Cr.P. art. 930.8; State ex rel. Glover v. State, 93-2330 (La.9/5/95), 660 So.2d 1189; La.C.Cr.P. art. 930.3; State ex rel. Melinie v. State, 93-1380 (La.1/12/96), 665 So.2d 1172; cf. La.C.Cr.P. art. 930.4(D).
